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      RESHMA KAMATH
 1
      Reshma Kamath, Cal. Bar No. 333800,
 2    700 El Camino Real, Suite 120, #1084,
 3    Menlo Park, California 94025, United States
 4    Ph.: 650 257 0719, E.: reshmakamath2021@gmail.com
      In Propria Persona
 5
 6                     IN AND FOR THE UNITED STATES DISTRICT
 7                         CENTRAL DISTRICT OF CALIFORNIA
 8                                          Case No.: 2:23-cv-08979-JFW-MAA
 9
      RESHMA KAMATH,
10                                          REPLY OF RESHMA KAMATH TO
11                Plaintiff,                DAVID T. BRISTOW’S NEFARIOUS
      v.                                    AND NON-CODE-COMPLIANT
12                                          ACTIONS
13    SUPERIOR      COURT      OF
      CALIFORNIA, LOS ANGELES,
14    MICHAEL SCHULTZ, WILLIAM
15    JUN, WILLIAM D. STEWART, ET
      AL.,
16
17                 Defendants.
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              NOTICE AND REPLY OF PLAINTIFF RESHMA KAMATH TO
 1
 2             JUDICIAL OFFICERS’ ILLEGALITIES, PARTICULARLY OF
 3
                         DAVID T. BRISTOW AND JOHN F. WALTERS
 4
 5
 6          PLEASE TAKE NOTICE that PLAINTIFF RESHMA KAMATH replies to
 7
      DEFENDANT DAVID T. BRISTOW’s erroneous “striking” of multiple documents
 8
      [ECF Dkt. No. 28, 31] undertaken in this afore-captioned matter. The reply also pertains
 9
10    to the Clerk’s illegal notices of deficiencies that this court has feloniously issued. [ECF
11
      Dkt. Nos. 29. 34. 36. 37].
12
13
            A FIRST-AMENDED COMPLAINT requires NO LEAVE TO AMEND. It is the

14    right of the Plaintiff to file a FIRST-AMENDED COMPLAINT prior to the filing of any
15
      responsive pleading without leave from Court. [ECF Dkt. No. 23]. “Amendments to
16
17    pleadings are liberally allowed and a party may amend its pleading once without leave of

18    court at any time prior to the service of a responsive pleading. Fed.R.Civ.P. 15(a).” Fox v.
19
      Sierra Development Co. (D. Nev. 1995) 876 F. Supp. 1169, 1170. [Emphasis Added].
20
21          PLAINTIFF RESHMA KAMATH realizes DEFENDANT DAVID T. BRISTOW,

22    judicial officer, was only recently appointed as a magistrate judge – in November 2023.
23
      The magistrate judge, DEFENDANT DAVID T. BRISTOW, must review the Federal
24
25    Rules of Civil Procedure, Rule 15, specifically. That Federal Rules of Civil Procedure, Rule
26    15, states that:
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                                                    2
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             “Fed. R. Civ. P. 15
 1
             Current through P.L. 118-34 (published on www.congress.gov on 12/26/2023),
 2    except for [P. L. 118-31]
             Rule 15 - Amended and Supplemental Pleadings
 3
             (a) AMENDMENTS BEFORE TRIAL.
 4           (1)Amending as a Matter of Course. A party may amend its pleading once as a
      matter of course no later than:
 5
             (A) 21 days after serving it, or
 6           (B) if the pleading is one to which a responsive pleading is required, 21 days
      after service of a responsive pleading or 21 days after service of a motion under Rule
 7
      12(b), (e), or (f), whichever is earlier.
 8           (2)Other Amendments. In all other cases, a party may amend its pleading only with
      the opposing party's written consent or the court's leave. The court should freely give leave
 9
      when justice so requires.
10           (3)Time to Respond. Unless the court orders otherwise, any required response to an
      amended pleading must be made within the time remaining to respond to the original
11
      pleading or within 14 days after service of the amended pleading, whichever is later.”
12    [Emphasis Added.]
13
            “Plaintiff may amend once as a matter of course prior to a responsive pleading by
14
15    the defendants. Fed.R.Civ.P. 15(a). ” Rouser v. Meyers (E.D. Cal., Jan. 23, 2010, No. 1:09-

16    cv-02221-AWI-DLB (PC)) [pp. 1]. “Federal Rule of Civil Procedure 15(a) allows a party
17
      leave to amend its pleading once as a matter of right prior to service of a responsive
18
19    pleading. ” PetConnect Rescue, Inc. v. Salinas (S.D. Cal., Dec. 17, 2020, Case No.: 3:20-

20    cv-00527-H-DEB) [pp. 2].
21
            PLAINTIFF RESHMA KAMATH has prior informed the judicial officers JOHN F.
22
23    WALTERS and DAVID T. BRISTOW not to bring their personal cultural biases and

24    prejudices into this. Yet, Defendants JOHN F. WALTERS and DAVID T. BRISTOW
25
      continue to act illegally, nefariously, and in contravention of stated law and code.
26
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                                                    3
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            A NOTICE OF ERRATA to the FIRST-AMENDED COMPLAINT also requires
 1
 2    NO LEAVE TO AMEND. A NOTICE OF ERRATA, prior to any responsive pleading
 3
      from opposing parties, does NOT require leave of court to file; and is not a separate
 4
      amendment. DOE-DEFENDANTS can be added in the notice of errata to the FIRST-
 5
 6    AMENDED COMPLAINT without leave of Court. This is not the same as the doe-
 7
      defendant relating back to the initial complaint in further iterations of the complaint.
 8
            It is also not what Rivera v. East Bay Municipal District (N.D. Cal., Aug. 5, 2015,
 9
10    Case No: C 15-0380 SBA) tries to undertake, because in those situations defendants were
11
      served and had replied with motion for extension [Rivera, ECF. Dkt. 13]. It is also
12
13
      distinguishable because in the Rivera case, the summons to the First-Amended Complaint

14    were requested and issued. [Rivera, ECF. Dkt. 11, 12, 14, 18].
15
            In this case, none of the situations are present. Not even one summons to the First-
16
17    Amended Complaint was issued, in fact, the requests were illegally stricken. [ECF Dkt.

18    No. 28, 31, 32, 33, 34, 35]. Further, none of the defendants were served yet – because the
19
      defendants are non-responsive or have not accepted service via waiver. Plaintiff is within
20
21    her ninety (90) days of service of amended complaint.

22          Additionally, the Court cites no law [ECF Dkt. No. 28, 37] and is already acting in
23
      an abuse of discretion – that is unbecoming of judicial officers in the United States.
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                                                   4
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            PLAINTIFF RESHMA KAMATH will re-file the NOTICE OF ERRATA, and re-
 1
 2    file the SUMMONS, as to the FIRST-AMENDED COMPLAINT. This is a nuanced
 3
      situation that Plaintiff is in complete conformity with.
 4
            DAVID BRISTOW and JOHN F. WALTER’s racism is specified in the Judicial
 5
 6    Canon of Ethics, Federal Code of Civil Procedure, and California Code of Civil Procedure.
 7
      If one wonders what racism looks like in the law, it looks like what the judicial officers
 8
      and clerk are doing – circumventing the law and code. Abuse of discretion is a polite way
 9
10    of saying not to be racist and misogynistic to women who’re more intelligent than you.
11
            If California courts will continue to act in racially biased ways against PLAINTIFF
12
13
      RESHMA KAMATH to dismiss her complaint, then Plaintiff will file the entire

14    COMPLAINT in her residential domicile naming DAVID BRISTOW and JOHN F.
15
      WALTERS there as defendants.
16
17    ///

18    DATED: FEBRUARY 08, 2024               RESHMA KAMATH
19
20                                            /S/ Reshma Kamath
21                                          Reshma Kamath,
22                                          In propria persona
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28
